Case 15-01145            Doc 7827      Filed 02/22/18 Entered 02/22/18 17:42:37                 Desc Main
                                       Document      Page 1 of 10


                    IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

    In re:                                                  Chapter 11

    CAESARS ENTERTAINMENT                                   Case No. 15-01145 (ABG)
    OPERATING COMPANY, INC., et al.,
                                                            Jointly Administered
                            Debtors.
                                                            Re: ECF No. 7787

                  EARL OF SANDWICH’S OBJECTION TO WHITEBOX’S MOTION
                    FOR LEAVE TO TAKE SECOND RULE 30(b)(6) DEPOSITION

             Earl of Sandwich (Atlantic City), LLC (“Earl”) objects to the motion of Whitebox Advisors

LLC (“Whitebox”) “to compel a second 30(b)(6) deposition,” really a motion to take a second

deposition otherwise prohibited by Rule 30(a)(2)(A)(ii), a Rule nowhere referenced in the motion,

and states:

                                            INTRODUCTION

             1.     By its motion, Whitebox seeks an order “require[ing] Earl[1] to give testimony on

how it collected and preserved documents.” (Motion ¶20.)

             2.     The relief should be denied. The motion is based on the false premise that Earl did

not disclose the absence of a litigation hold until after its Rule 30(b)(6) deposition was completed.

As described below, at its Rule 30(b)(6) deposition, Thomas Avallone, Earl’s Sole Manager and

Officer, and Earl’s corporate designee, told Whitebox that he did not recall having received a

litigation hold. Whitebox nevertheless did not bother asking follow up questions of the type it

now seeks discovery on and ended the deposition six minutes later.


1
  Whitebox is actually asking this Court for leave to depose Earl concerning how “any of its corporate
affiliates … parent corporations … agents, legal representatives, consultants, its present and former officers,
directors, servants and employees and any other representatives and persons purporting to act on its behalf”
preserve documents (Motion Ex. G, p.15 of 18, ¶1), even though the underlying contested matter is a
contract dispute between Whitebox and Earl (not affiliates).
Case 15-01145         Doc 7827       Filed 02/22/18 Entered 02/22/18 17:42:37                Desc Main
                                     Document      Page 2 of 10


        3.      Significantly, Whitebox has no reason to believe any responsive documents have

been spoliated. Earl’s production commenced just three months after Whitebox’s Transfer of

Claim was filed on October 5, 2017 [ECF No. 7471], and less than a year after Earl and Cowen

first exchanged communications. Its document retention policy, which Earl produced, does not

contemplate destruction of documents during that period. At all relevant times, Earl had just one

Manager and Officer (and no employees) (the sole restaurant owned by Earl was closed during

these chapter 11 cases), whose documents were collected and who was deposed, both in his

individual capacity and as corporate representative, on a variety of topics including Earl’s

document retention practices. Nowhere in Whitebox’s motion, nor its pre-motion communications,

has Whitebox articulated what responsive documents it thinks may be missing, putting aside the

questionable relevance of Earl’s documents given that Whitebox is seeking to enforce a fully

integrated agreement that Whitebox asserts is papered by Earl’s January 11-12, 2017

communications with Cowen Special Investments LLC (“Cowen”) and the draft agreement Cowen

sent Earl. Under these circumstances, Whitebox has not established an entitlement to extraordinary

discovery under Rule 30(a)(2)(A).

                                           BACKGROUND

        4.      The underlying contested matter concerns whether communications exchanged

between Thomas Avallone (Earl’s Sole Manager, President, CEO, and Secretary), on the one hand,

and Bradly Schwab (Head of Cowen), on the other, during the afternoon of January 11, 2017 and

the following morning, gave rise to mutual assent.2




2
  Whitebox stated in its Transfer of Claim that Earl’s January 11, 2017, 2:04 p.m. e-mail response (“YES”)
to the e-mail of five minutes prior from Mr. Schwab (asking “please confirm, but it sounds like you are
offering the paper [$3.6 million claim (“Claim”)] for sale at $2.15 million”) constituted a legally binding
offer, which Mr. Schwab accepted the next day at 8:34 a.m.

                                                    2
Case 15-01145        Doc 7827        Filed 02/22/18 Entered 02/22/18 17:42:37        Desc Main
                                     Document      Page 3 of 10


       5.      By e-mail sent January 12, 2017 at 11:12 a.m., less than 1.5 hours after Mr.

Avallone invited Cowen to send him a draft agreement, and before Cowen even sent him said

agreement, Cowen confirmed a sale of the Claim to Whitebox.

       6.      By letter, dated April 18, 2017, Whitebox threatened to sue Cowen for failure to

deliver the Claim as contemplated by the confirmation, and demanded Cowen either commence

litigation against Earl or “permit us [Whitebox] to proceed [against Earl] on your [Cowen’s]

behalf” [ECF No. 7785-4] (“Mintz Letter”).

       7.      Cowen selected the latter option, as it “review[ed] the matter,” and concluded “we

do not believe that any further action [against Earl] would be productive or is practical in this

instance.” (Mintz Letter Ex. B.) Accordingly, Cowen entered into an Assignment and Release

Agreement with Whitebox, dated June 19, 2017 (“A&R Agreement”) and annexed hereto as Ex.

1 (without exhibits), that Whitebox states was “intended to [give Whitebox the] right to stand in

Cowen’s shoes” in contemplated future litigation against Earl. (Motion Ex. H.)

       8.      In exchange for the right to sue on the alleged Earl-Cowen agreement and Cowen’s

commitment to cooperate with Whitebox in the contemplated future litigation, Whitebox paid

Cowen $1 and gave Cowen a full release. (A&R Agreement §§ 1, 2, 8.b, 10, 15.)

       9.      Whitebox commenced the contested matter on October 5, 2017 by filing a Transfer

of Claim [ECF No. 7471].

       10.     Earl objected to the Transfer of Claim on October 18, 2017 [ECF No. 7550].

       11.     The next day Whitebox served its first set of requests for production on Earl,

seeking the production of sixteen categories of documents. The final request sought the production

of Earl’s record retention policy.

       12.     Whitebox also served deposition notices for Mr. Avallone and Robert Earl with its

requests for production.
                                                3
Case 15-01145        Doc 7827      Filed 02/22/18 Entered 02/22/18 17:42:37             Desc Main
                                   Document      Page 4 of 10


       13.      Earl served its responses and objections to Whitebox’s requests for production on

November 20, 2017. Earl agreed to produce non-privileged, documents responsive to all requests,

save three. Whitebox has moved to compel production with respect to two of those three requests.

       14.      On December 4, 2018, Whitebox served a Rule 30(b)(6) deposition notice on Earl

identifying ten examination topics. (Motion Ex. B.) None of those topics concerned record

retention.

       15.      Earl designated Mr. Avallone as its representative for all examination topics. Earl

has no managers or officers other than him, or employees.

       16.      On December 8, 2017, Earl made its initial production, which included its record

retention policy, a copy of which is annexed hereto as Ex. 2. Earl later made three supplemental

productions.

       17.      Whitebox deposed Mr. Earl on January 9, 2018. At his deposition, Mr. Earl

answered “I don’t recall” in response to a series of questions asking about a litigation hold.

He also stated he did not even know if Earl had a record retention policy. (Earl Tr. 171-72, annexed

hereto as Ex. 3.)

       18.      Whitebox deposed Mr. Avallone on January 10, 2018, both in in his individual

capacity and as corporate representative. Whitebox asked him if he received a litigation hold in

connection with this litigation. He testified that he did not recall having received one, and did not

review one prior to his deposition. (Avallone Tr. 134-35, 137, annexed hereto as Ex. 4.) Whitebox

thereafter asked him about his document retention habits, and then concluded the deposition.

(Id. 135-37).

       19.      Notwithstanding that Mr. Avallone testified he did not recall receiving a litigation

hold and had not reviewed one prior to his deposition, Whitebox asked Earl for the same document

two weeks later. Earl confirmed the next day no hold was issued, and further noted the record
                                                 4
Case 15-01145         Doc 7827      Filed 02/22/18 Entered 02/22/18 17:42:37                Desc Main
                                    Document      Page 5 of 10


retention policy produced does not permit or provide for the destruction of documents from the

relevant period. (Motion Ex. F, p.2.)

        20.     The parties conferred January 31, 2018 concerning Whitebox’s threat to “compel a

further 30(b)(6) deposition.” (Motion Ex. H, p.2.) During the conference, Whitebox was asked

what documents it thought it was missing concerning the subject matter of this litigation.

Whitebox was unable to articulate a substantive response, and instead stated Earl should have

searched more custodians’ documents in making its production.3

                                            ARGUMENT

I.      LEGAL STANDARD FOR LEAVE TO TAKE SECOND DEPOSITION

        21.     Whitebox needs leave of this Court to take a second Rule 30(b)(6) deposition.

Sulfuric Acid Antitrust Litig., No. 03-cv-4576 (MDL No. 1536), 2005 WL 1994105 (N.D. Ill. Aug.

19, 2005). Rule 30(a)(2) provides leave should be granted “to the extent consistent with Rule

26(b)(1) and (2).” Subdivision (b)(1) permits discovery “regarding any nonprivileged matter that

is relevant to any party’s claim or defense and proportional to the needs of the case.” Subdivision

(b)(2)(C) limits discovery where “(ii) the party seeking discovery has had ample opportunity to



3
  Specifically, Whitebox stated Earl should have searched documents of Messrs. Avallone’s and Earl’s
secretaries, and Bruce Hawkins, EarlEnterprises’ CFO. (EarlEnterprises is a trademark used to refer to a
group of businesses that include Planet Hollywood and Earl of Sandwich, but not a separate legal entity;
Mr. Avallone’s e-mail signature identifies him as Vice Chairman of that group.) Mr. Hawkins received
solicitations with respect to the Claim from Seaport Global, a bankruptcy claim purchaser, which Mr.
Avallone testified Mr. Hawkins forwarded him on receipt and which Earl agreed to produce
notwithstanding their questionable relevance. And Earl’s initial production included over a dozen pages of
e-mails from Seaport to Mr. Hawkins, which Mr. Hawkins then forwarded to Mr. Avallone. Whitebox,
however, is dissatisfied that Mr. Hawkins’ documents were not separately searched, even though it is
undisputed Mr. Hawkins had no communications with Cowen and none of his communications with Seaport
are relevant to the question of mutual assent. With respect to the secretaries, a search of Mr. Avallone’s
secretary’s hard copy documents yielded 14-pages of handwritten notes identifying missed telephone calls
regarding the Claim. Those logs were previously produced to Whitebox. Earl had not undertaken a separate
search of Messrs. Avallone’s and Earl’s secretaries’ e-mails prior to the parties’ conference, given their
professional functions, but agreed to do so the next day and produce any responsive documents not already
produced. Those are the “three additional custodians” referenced in Motion n.1.

                                                    5
Case 15-01145        Doc 7827      Filed 02/22/18 Entered 02/22/18 17:42:37             Desc Main
                                   Document      Page 6 of 10


obtain the information by discovery in the action; or (iii) the proposed discovery is outside the

scope permitted by Rule 26(b)(1). Both factors weigh against granting leave, as set forth below.

II.       WHITEBOX HAD AMPLE OPPORTUNITY TO TAKE DISCOVERY ON ITS
          PROPOSED EXAMINATION TOPICS

          22.   Whitebox asked for Earl’s record retention policy in its first set of requests for

production, and Earl agreed to produce the same on November 20, 2017, and did so on December

8, 2017. Despite this, Whitebox elected not to include record retention as an exam topic in its Rule

30(b)(6) notice, served December 4, 2017. (Motion Ex. B.) Whitebox nevertheless asked Mr.

Avallone, Earl’s Sole Manager and Officer, questions pertaining to record retention at his

deposition, held January 10, 2018, and he answered those questions in a manner that made clear

he did not know of any litigation hold issued to him. (Ex. 4 hereto.) Whitebox then continued to

ask Mr. Avallone about his record retention habits, and ended the deposition six minutes after

starting to ask him about the litigation hold. In short, Whitebox’s assertion that it “has not had any

other opportunity to seek the requested information” (Motion ¶22) is false, as Whitebox was free

to depose him on those topics at his deposition but failed to do so. Accordingly, Whitebox should

not be permitted to depose Earl again on the examination topics set forth in its draft deposition

notice.

III.      THE REQUESTED DISCOVERY IS OUTSIDE THE SCOPE OF RULE 26(b)(1)

          A.    The Requested Discovery Does Not Satisfy Relevance Requirements

          23.   At its core this is a simple breach of contract action. Whitebox’s interrogatory

responses (annexed hereto as Ex. 5) state all terms of the alleged Earl-Cowen agreement are set

forth in the January 11-12 e-mails (Transfer of Claim Ex. 2, Ex. A), and the draft agreement Cowen

sent Mr. Avallone on January 12 at 1:24 p.m. (annexed hereto as Ex. 6), which agreement includes

a merger clause in Section 14 thereof. (Response to Interrogatory Nos. 1-2.) Those documents


                                                  6
Case 15-01145         Doc 7827      Filed 02/22/18 Entered 02/22/18 17:42:37                Desc Main
                                    Document      Page 7 of 10


were in Whitebox’s possession when it filed the Transfer of Claim. Under both Illinois and New

York law, the latter of which Whitebox states governs the alleged Earl-Cowen agreement (Transfer

of Claim Ex. 1, n.2), parol evidence may not be used to interpret those documents, or even establish

an ambiguity therein. See, e.g., Davis v. G.N. Mortgage Corp., 396 F.3d 869, 879 (7th Cir. 2005);

Intercontinental Planning v. Daystrom, Inc., 248 N.E.2d 576, 580 (N.Y. 1969). Given Whitebox’s

position herein, it is unclear why any further discovery concerning documents is even appropriate.

          24.   Notwithstanding this, Earl agreed to produce non-privileged documents responsive

to the vast majority of Whitebox’s requests. Its production included all e-mails that Cowen shared

with Whitebox prior to the start of this litigation (Transfer of Claim Ex. 2, Ex. A) and much more.

Whitebox has no reason to believe, based on that production, or its subsequent depositions of

Messrs. Earl and Avallone, that any documents responsive to Whitebox’s requests have been

spoliated.4 Nor was Whitebox able to identify a single area of concern at the parties’ Local

Rule 7037-1 conference, in Whitebox’s post-conference e-mail (Motion Ex. H), or in the motion

itself.

          25.   Whitebox is seeking this discovery in the hope (without basis) of threatening

sanctions under Rule 37(e). That, however, is not permitted as fishing expeditions such as this fall

outside the scope of disclosure, and indeed were not permitted even before the 2015 amendments

to Rule 26(b)(1). Davis, 396 F.3d at 885 (Seventh Circuit affirmed District Court decision denying

additional discovery where the request was “based on nothing more than mere speculation and

would amount to a fishing expedition,” and noting that “[t]he only reason to believe that additional,

relevant evidence would materialize from deposing the defendants’ employees is the [plaintiff’s]


4
  Earl omitted from its production Cowen’s letter to Mr. Avallone, dated February 22, 2017, annexed as an
exhibit to the Transfer of Claim. Mr. Avallone testified that he “look[ed] for the document and I couldn’t
find it,” and that he believed the document was received by mail (not e-mail).

                                                    7
Case 15-01145       Doc 7827       Filed 02/22/18 Entered 02/22/18 17:42:37           Desc Main
                                   Document      Page 8 of 10


apparent hope of finding a proverbial ‘smoking gun’”); Ameristar Jet Charter, Inc. v. Signal

Composites, Inc., 244 F.3d 189, 193 (1st Cir. 2001) (denying additional discovery, stating that it

would “not allow [respondent] to go on a ‘fishing expedition’ with the mere ‘hope’ that it will

obtain [relevant] information”).

       26.     Whitebox cites two decisions for the proposition it is nevertheless entitled to a

second Rule 30(b)(6) deposition, Peerless Indus., Inc. v. Crimson AV, LLC, No. 11-cv-1768, 2013

WL 85378 (N.D. Ill. Jan. 8, 2013) and Sloan Valve Co. v. Zurn Indus., Inc., No. 10-cv-204, 2012

WL 1886353, (N.D. Ill. May 23, 2012). Neither decision, however, actually permitted a second

Rule 30(b)(6) deposition.    Peerless is totally inapposite, and concerned whether a person

determined to be the defendant’s principal could be compelled to sit for a deposition. In Sloan

Valve, the defendant was directed to “provide additional information regarding its document

preservation efforts” as its witnesses (including its Rule 30(b)(6) corporate representatives) gave

testimony that “raise[d] concerns about the reasonableness of” the same. Id. at *3-4, 12-14.

Whitebox, however, points to nothing save the absence of a litigation hold as the basis for its

proposed second deposition, notwithstanding that it had the opportunity to and did depose Mr.

Avallone on the subjects which it now seeks additional testimony.

       B.      The Requested Discovery Does Not Satisfy Proportionality Requirements

       27.     To fall within the scope of disclosure, discovery must also be “proportional to the

needs of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties’ relative access to relevant information, the parties’ resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit.” Consideration of these factors weighs against

discovery on the examination topics in Whitebox’s draft deposition notice.



                                                8
Case 15-01145        Doc 7827      Filed 02/22/18 Entered 02/22/18 17:42:37             Desc Main
                                   Document      Page 9 of 10


       28.     Importance of Issues at Stake in the Action. Earl’s document retention practices

are not important to the issues at stake herein, given the nature of this action, and the absence of

any basis for any belief that documents from the relevant time period have been spoliated.

       29.     Amount in Controversy. This factor is inapplicable.

       30.     Parties’ Relative Access to Relevant Information. Earl produced its record retention

policy to Whitebox. Whitebox asked Mr. Avallone about record retention, and he answered

Whitebox’s questions, even though Whitebox did not identify record retention as an examination

topic in its Rule 30(b)(6) deposition notice. Whitebox also has access to relevant information from

Cowen, which committed to cooperate with Whitebox in this litigation in the A&R Agreement, as

noted above.

       31.     Parties’ Resources. Earl is a defunct sandwich shop that closed because of these

chapter 11 cases and Whitebox is a hedge fund with billions of dollars under management.

       32.     Importance of Discovery in Resolving the Issues. The discovery sought has no

bearing on the underlying issues in the subject contested matter. Whitebox is unable to articulate

a single document it thinks it may be missing that could conceivably affect the ultimate result of

the underlying contested matter, and instead seeks discovery for discovery’s sake.

       33.     Whether the Burden or Expense of the Proposed Discovery Outweighs its Likely

Benefit. Whitebox states any burden of its proposed deposition will be modest, and is outweighed

by its likely benefit, which is “providing clarity on a topic with respect to which Earl’s answers

and explanations have shifted during the discovery process.” (Motion ¶24.) Earl’s answers did

not shift during the discovery process. As noted above, Mr. Avallone stated he was not aware of

a litigation hold and Earl thereafter confirmed no hold was issued. In any event, Whitebox’s stated

justification is not a sufficient basis for the requested discovery as no basis exists for Whitebox to

believe it is missing any responsive documents due to spoliation, and already deposed Mr.
                                                  9
Case 15-01145        Doc 7827     Filed 02/22/18 Entered 02/22/18 17:42:37             Desc Main
                                  Document     Page 10 of 10


Avallone on the subject of document retention. In addition, Whitebox’s statement that a deposition

of “an additional few hours” (his January 10 deposition lasted five hours) will impose just a modest

burden is false. A deposition in Orlando would require a days’ worth of travel time by Earl’s

counsel, and a deposition in New York (or Chicago) would likewise require travel time by Earl’s

corporate representative, on top of the required preparation time.

       WHEREFORE, Earl requests that the Court deny the motion and grant it such other and

further relief as this Court deems just and proper.

Dated: February 22, 2018                              Respectfully submitted,

                                                      /s/ Jeffrey Chubak
                                                      Jeffrey Chubak (admitted pro hac vice)
                                                      STORCH AMINI PC
                                                      140 East 45th Street, 25th Floor
                                                      New York, New York 10017
                                                      Tel: (212) 497-8247
                                                      Fax: (212) 490-4208
                                                      jchubak@storchamini.com

                                                      - and -

                                                      Joseph D. Frank (IL No. 6216085)
                                                      FRANKGECKER LLP
                                                      325 North LaSalle Street, Suite 625
                                                      Chicago, Illinois 60654
                                                      Tel: (312) 276-1400
                                                      Fax: (312) 276-0035
                                                      jfrank@fgllp.com

                                                      Counsel to Earl of Sandwich (Atlantic City),
                                                      LLC




                                                 10
